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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                       MOTION FOR ADMISSION PRO HAC VICE

              20-cv-01872-PJS-ECW
Case Number: ____________________

            Brandon Ehlis, on behalf of himself and all others similarly situated v.
Case Title: ________________________________________
               DAP Products, Inc.

                                             Affidavit of Movant

    Russell S. Ponessa
I, ____________________________,    an active member in good standing of the bar of the U.S.
District Court for the District of Minnesota, request that this Court admit pro hac vice
_________________________________,
 Charles W. Steese                      an attorney admitted to practice and currently in good
standing in the U.S. District Court for (please identify ONE specific district to which the
attorney is admitted) _________________________________,
                       Colorado                              but not admitted to the bar of this
court, who will be counsel for the  plaintiff x defendant _____________________________
                                                            DAP Products, Inc.
in the case listed above.

I am aware that the local rules of this court require that an active Minnesota resident, unless the
court grants a motion for a non-Minnesota resident to serve as local counsel, who is a member in
good standing of the bar of this court participate in the preparation and presentation of the case
listed above, and accept service of all papers served.

Check one of the following:
 x
    I am a resident of the State of Minnesota, and agree to participate in the preparation and the
presentation of the case above and accept service of all papers served as required by LR 83.5(d)
(sign and complete information below).

    I am not a resident of the State of Minnesota and hereby move for permission to act as local
counsel under LR 83.5(d). I agree to participate in the preparation and the presentation of the
case listed above, and accept service of all papers served as required by LR 83.5(d) should my
motion for a non-resident to serve as local counsel be granted by the court (sign and complete
information below and attach a completed Motion for Permission for a Non-Resident to Serve as
Local Counsel).

                     /s/Russell S. Ponessa
         Signature:______________________________                             October 23, 2020
                                                                        Date: ___________

                                 0169316
         MN Attorney License #: _____________________




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                                Affidavit of Proposed Admittee


I, __________________________,
    Charles W. Steese                am currently a member in good standing of the U.S. District
Court for the (please identify ONE specific district to which you are admitted)
________________________________,
 Colorado                                 but am not admitted to the bar of this court. I
understand that if this Court grants me admission pro hac vice, the moving attorney identified in
this motion must participate in the preparation and presentation of the case listed above, and
must accept service of all papers served as required by LR 83.5(d). I further understand that the
District of Minnesota is an electronic court and that I will receive service as required by Fed. R.
Civ. P. 5(b) and 77(d) by electronic means and I understand that electronic notice will be in lieu
of service by mail.

Signature:______________________________
           /s/Charles W. Steese                     Date: ___________
                                                          October 20, 2020


Typed Name: __________________________
            Charles W. Steese


                        26924
Attorney License Number:_____________________                           Colorado
                                              issued by the State of _________________

Federal Bar Number (if you have one):

Law Firm Name: ________________________________
               Armstrong Teasdale, LLP

                   4643 S. Ulster Street, Suite 800
Law Firm Address: _______________________________
                     Denver, CO 80237
                    _______________________________

                    _______________________________

             720    200-0676
Main phone: (___)____________________                           720 200-0677
                                                  Direct line: (___)____________________
                csteese@armstrongteasdale.com
E-mail address: ______________________________




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